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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                         Plaintiffs,                                  8:16CR331

        vs.
                                                                       ORDER
JULIAN MIX-PEREZ and
CARLOS VIDAL-MIX,

                         Defendants.

        This matter is before the court following at Rule 17.1 conference on February 3, 2017. The

defendant(s) were not present. Julian Mix-Perez was represented by Nathan C. Dallon. Carlos

Vidal-Mix was represented by Jessica P. Douglas. The United States was represented by Assistant

U.S. Attorney Christopher Feretti. Following a discussion of the status of discovery, a progression

of the case was established. The parties requested trial of this matter to commence on June 12,

2017 for a duration of seven (7) trial days.

        IT IS ORDERED:

    1. On or before February 24, 2017, the defendants shall have on file any pre-trial motions

that pertain to additional discovery they will be receiving from the United States.

    2. On or before April 7, 2017, the United States will provide defendants with the transcripts

of the calls they will use at trial.

    3. On or before May 5, 2017, the defendants shall have completed their independent

assessment of the transcribed calls they received from the United States.

    4. On or before May 5, 2017, the defendants shall have on file any motions regarding the

transcription of the calls they received from the United States.

    5. On or before May 26, 2017, the United States will file its list of witnesses it intends to call

in its case-in-chief.
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    6. On or before June 2, 2017, the United States will disclose the identity of any confidential

informant or cooperating witness who will be called in the government’s case-in-chief together

with any Jencks or Brady materials regarding such witness.

    7. On or before June 2, 2017, the defendants shall file a list of witnesses they intend to call

at trial.

    8. On or before June 2, 2017, the government shall file its exhibit list, trial brief and

proposed jury instructions.

    9. On or before June 5, 2017, the defendants shall file their exhibit list, trial briefs and

proposed jury instructions.

    10. Trial of this matter will commence before Judge John M. Gerrard and a jury on June 12,

2017 and is scheduled to last seven (7) trial days.

            IT IS FURTHER ORDERED:

            1. On or before February 10, 2017, the defendant(s) shall file their affidavit(s) in

accordance with Paragraph 9 of the progression order.

            2. The ends of justice have been served by granting the parties’ request for a trial setting

and outweigh the interests of the public and the defendants in a speedy trial. The additional time

arising as a result of the granting of the motion, i.e., from February 3, 2017 through June 12,

2017, shall be deemed excludable time in any computation of time under the requirement of the

Speedy Trial Act for the reason counsel require additional time to adequately prepare the case,

taking into consideration due diligence of counsel, and the novelty and complexity of this case.

The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §

3161(h)(7)(A) & (B).

            Dated this 7th day of February, 2017.
                                                         BY THE COURT:

                                                         s/ Susan M. Bazis
                                                         United States Magistrate Judge
